   Case 4:24-cv-00551        Document 16     Filed on 06/14/24 in TXSD      Page 1 of 1
                                                                               United States District Court
                                                                                 Southern District of Texas

                                                                                    ENTERED
                                                                                    June 14, 2024
                          UNITED STATES DISTRICT COURT
                                                                                 Nathan Ochsner, Clerk
                           SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION


JUAN LUNA, et al.,                           §
      Plaintiffs,                            §
                                             §
VS.                                          § CIVIL ACTION NO. 4:24-CV-00551
                                             §
PHH MORTGAGE CORPORATION,                    §
     Defendant.                              §


                                 ORDER TO SHOW CAUSE

       The Court ordered the parties to attend an Initial Pretrial and Scheduling Conference

in this action on June 12, 2024, at 9:00 A.M. by video before Judge Andrew Edison. (Dkt.

5). Plaintiffs did not appear.

       Accordingly, Plaintiffs are hereby ORDERED to appear for a hearing to show

cause why they failed to appear for the June 12, 2024 hearing. The show cause hearing will

on June 28, 2024, at 1:00 P.M. by zoom.

       Failure to appear at the show cause hearing may result in dismissal of this case for

want of prosecution.

Join the hearing on ZoomGov.com by clicking or copying and pasting the following link:
       https://www.zoomgov.com/j/1616776605?pwd=V09ORVZwVjBWSk9NN09JTll5dW1yUT09
                         Meeting phone number: 1−669−254−5252
                                   Meeting ID: 161 677 6605
                                  Meeting Password: 509913

   SIGNED at Houston, Texas on June 14, 2024.



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                                                      GEORGE C. HANKS, JR.
                                                  UNITED STATES DISTRICT JUDGE
